        Case 1:17-cv-01454-SHR Document 68 Filed 10/17/18 Page 1 of 4



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 PASQUALE T. DEON, SR. and          :
 MAGGIE HARDY MAGERKO
                         Plaintiffs :
                                    :           No. 1:17-CV-1454
               v.                   :
                                    :           Honorable Sylvia H. Rambo
 DAVID M. BARASCH, KEVIN F.         :
 O’TOOLE, RICHARD G. JEWELL,        :           Electronically Filed Document
 SEAN LOGAN, KATHY M.               :
 MANDERINO, MERRITT C.              :
 REITZEL, WILLIAM H. RYAN, JR., :
 DANTE SANTONI JR., PAUL            :
 MAURO, CYRUS PITRE and JOSH        :
 SHAPIRO,
                       Defendants :             Complaint Filed 08/15/17

                             NOTICE OF APPEAL

      Notice is hereby given that Defendants David M Barasch, Kevin F. O’Toole,

Richard G. Jewell, Sean Logan, Kathy M. Manderino, Merritt C. Reitzel, William

H. Ryan, Jr., Dante Santoni, Jr., Paul Mauro, and Cyrus Pitre, in their official

capacities as officials of the Commonwealth of Pennsylvania, Pennsylvania Gaming

Control Board, and Josh Shapiro, in his official capacity as the Attorney General of

Pennsylvania, by and through their attorneys, hereby appeal to the United States

Court of Appeals for the Third Circuit from the final order and judgment in this case

entered on September 19, 2018 (Doc. 58).
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                                       JOSH SHAPIRO
                                       Attorney General

                                 By:   s/ Karen M. Romano
                                       KAREN M. ROMANO
Office of Attorney General             Senior Deputy Attorney General
15th Floor, Strawberry Square          Attorney ID 88848
Harrisburg, PA 17120
Phone: (717) 787-2717                  KELI M. NEARY
kromano@attorneygeneral.gov            Chief Deputy Attorney General
                                       Chief, Civil Litigation Section

Date: October 17, 2018                 Counsel for Defendants
        Case 1:17-cv-01454-SHR Document 68 Filed 10/17/18 Page 3 of 4



              IN THE UNITED STATES DISTRICT COURT
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 DANTE SANTONI JR., PAUL            :
 MAURO, CYRUS PITRE and JOSH        :
 SHAPIRO,
                       Defendants :             Complaint Filed 08/15/17


                         CERTIFICATE OF SERVICE
      I, Karen M. Romano, Senior Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on October 17,

2018, I caused to be served a true and correct copy of the foregoing document titled

Notice of Appeal to the following:

 VIA ECF:

 Adam A. Desipio, Esquire                   Amanda L. Morgan, Esquire
 Courtney G. Saleski, Esquire               Jesse C. Medlong, Esquire
 Timothy J. Lowry, Esquire                  DLA Piper LLP
 Nathan P. Heller, Esquire                  555 Mission Street, Suite 2400
 DLA Piper LLP                              San Francisco, CA 94105
      Case 1:17-cv-01454-SHR Document 68 Filed 10/17/18 Page 4 of 4




One Liberty Place                     amanda.morgan@dlapiper.com
1650 Market Street, Suite 4900        jesse.medlong@dlapiper.com
Philadelphia, PA 17103-7300           Counsel for Plaintiff Deon
adam.desipio@dlapiper.com
courtney.saleski@dlapiper.com
timothy.lowry@dlapiper.com
Nathan.heller@dlapiper.com
Counsel for Plaintiff Deon

John J. Hamill, Esquire               Alexander W. Saksen
DLA Piper LLP                         Gordon Rees Scully Mansukhani,
444 West Lake Street, Suite 900       LLP
Chicago, IL 60606-0089                707 Grant Street, Suite 3800
john.hamill@dlapiper.com              Pittsburgh, PA 15219
Counsel for Plaintiff Deon            asaksen@grsm.com
                                      Counsel for Plaintiff Magerko



                                       s/ Karen M. Romano
                                       KAREN M. ROMANO
                                       Senior Deputy Attorney General
